       Case 3:23-cv-04155-YGR Document 10-21 Filed 08/17/23 Page 1 of 6




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13                              UNITED STATES DISTRICT COURT

14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15 CALIFORNIA COALITION FOR WOMEN                             Case No. 4:23-cv-04155
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
16   A.S.; and L.T., individuals on behalf of themselves      DECLARATION OF M
     and all others similarly situated,                       R           IN SUPPORT OF
17                   Plaintiffs,                              PLAINTIFFS’ MOTIONS FOR
                                                              PRELIMINARY INJUNCTION
18           v.                                               AND PROVISIONAL CLASS
                                                              CERTIFICATION
     UNITED STATES OF AMERICA FEDERAL
19   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR COLETTE
20   PETERS, in her official capacity; FCI DUBLIN
     WARDEN THAHESHA JUSINO, in her official
21   capacity; OFFICER BELLHOUSE, in his individual
     capacity; OFFICER GACAD, in his individual
22   capacity; OFFICER JONES, in his individual
     capacity; LIEUTENANT JONES, in her individual
23   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
24   capacity, OFFICER POOL, in his individual capacity,
     LIEUTENANT PUTNAM, in his individual capacity;
25   OFFICER SERRANO, in his individual capacity;
     OFFICER SHIRLEY, in his individual capacity;
26   OFFICER SMITH, in his individual capacity; and
     OFFICER VASQUEZ, in her individual capacity,
27
                     Defendants.
28
     [4300009.1]
      DECLARATION OF M        R          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-21 Filed 08/17/23 Page 2 of 6




 1         I, M      R           declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from May 2021 to present. In the past I was incarcerated by the Bureau of Prisons (BOP)
 7 in the camp at FCI Phoenix from June 2019 until I was transferred to Dublin in 2021. In
 8 the future BOP may transfer me to other BOP facilities but at any point I could be
 9 transferred back to FCI Dublin.
10         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
11 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
12 and put myself and other incarcerated persons at substantial risk of serious harm from
13 sexual assault, harassment, and retaliation from staff.
14         4.     When I arrived at FCI Dublin in May 2021 I was not provided adequate
15 training and information about how to respond to sexual abuse. I was not given any
16 information at all about PREA. Because I did not receive any information about it, all the
17 information I learned was from other prisoners who joked about it. I believed that these
18 rules against sexual harassment only applied to conduct between prisoners not to officers.
19 No other prison officer told me that there were ever protections against sexual abuse and
20 sexual harassment by officers.
21         5.     While I was incarcerated at Dublin, I heard sexual harassment and abusive
22 language so often that it was just normalized as everyday treatment. This happened
23 especially while I worked in the kitchen. Officer Jones worked in the kitchen and
24 repeatedly called me and others “bitches” on a daily basis. Many of the officers who are
25 women also just walk into cells while women are naked or changing, even though they
26 should announce themselves prior to entering into the cell.
27         6.     I heard that even last week, an officer of CMS, Officer Souza, was walked
28 off for sexual harassment or sexual assault. He was a temporary replacement for another
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     DECLARATION OF M         R          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-21 Filed 08/17/23 Page 3 of 6




 1 officer who was the previous head of CMS.
 2         7.     There is no effective way to confidentially report sexual assault and abuse by
 3 staff at FCI Dublin. Staff at FCI Dublin prevent people from reporting sexual assault and
 4 abuse by staff and retaliate against people who do report anything. In August 2021, my
 5 cellmate got in trouble with Officer Vargas for saying something to him that he didn’t like.
 6 Even though I said nothing, they threw us both in the SHU. I think this is because my
 7 cellmate was mentally unstable, and they expected me to look after her. While we were in
 8 the SHU, my cellmate started a fight with me because they were mentally struggling. Even
 9 though she hit me and got physical, the officers did not separate us or do anything to
10 address this. While I was in the SHU I asked for a grievance form in order to find a remedy
11 for this situation, but they said I could not have one. I also spoke with Lieutenant Putnam
12 and he said to “Just let things play out.” I was in the SHU for a total of one month. They
13 threw all of my things away in my cell. I feel traumatized about being put in the SHU.
14         8.     Later, Case Manager Martinez and Counselor Campos counselor made a
15 mockery of my time in the SHU. One day in April or May 2023, they were looking back
16 and forth at one another and one officer asked, “Is that her?” They said, “Oh you need to
17 go to the SHU!” I asked why. They began laughing so I asked if they were joking. They
18 just continued laughing. I told them it was not funny because I had PTSD about the SHU
19 but they did not seem to care.
20         9.     Officers have been retaliating against us by moving everyone in the camp
21 into a different part of the unit where the facilities are worse because people are reporting
22 their sexual harassment and general abuse. New staff in this unit, including Unit Manager
23 Acgustini and Counselor Campos have taken upon themselves to punish us for reporting.
24 They yell at us and search our cells constantly. They also move us to floors of the unit
25 where there is known asbestos in retaliation. Additionally, they force us to bunk with
26 people who have mental health issues and need treatment. They tell us that if we want to
27 move, our only option is to go to the SHU.
28         10.    Officers Campos, Agostini, and Marshall also have forced people to work in
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     DECLARATION OF M         R          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-21 Filed 08/17/23 Page 4 of 6




 1 conditions that are unbearable. Many of the women have to work outside in 100 degree
 2 weather. When people say they cannot work in such heat because of medical conditions,
 3 they say “I don’t care, if you don’t want to work we will issue you a disciplinary ticket or
 4 send you to the SHU.” As a result people come back feeling nauseous, have headaches and
 5 are weak. They also force people to work to remove razor wire without any protective
 6 gear. They also have made it very difficult to get a transfer even though we should be able
 7 to request it after 18 months. I think all of it is cruel treatment and retaliation because we
 8 have spoken up.
 9         11.    Officers also make communicating with attorneys impossible. They give us
10 an attitude anytime we have a legal call scheduled and impose additional hurdles to make
11 sure that legal calls are properly placed.
12         12.    There is little to no confidential mental health care available at FCI Dublin.
13 There are no mental health care services provided on an individual basis. I have PTSD,
14 anxiety, and depression but I have only seen a psychologist once. I would be interested in
15 these services and it would help us all in entering into society. The only time I went to see
16 a psychologist, they only asked basic questions and told me my problems were because I
17 was incarcerated so I needed to “get used to it.” The psychologist also wanted to put me on
18 a random medication without ever assessing me for it.
19         13.    There is little to no medical care available to survivors of sexual abuse and
20 assault at FCI Dublin. I have a bottom bunk chrono implemented by a specialist because I
21 have severe carpal tunnel. Dublin has made it difficult to retain my bottom bunk
22 designation, and I have had to fight for it or else it would get taken away. I also had a
23 scheduled surgery for my wrist that was scheduled for December 2022 that was canceled
24 without any explanation nor estimate for when it would be scheduled again.
25         14.    When I was placed in the SHU, the brace I received for my wrist was thrown
26 away and I never received it again. I am anemic and have low iron, and they have
27 repeatedly removed my iron supplements. I’ve gone without them for years at a time
28 which made me weak. They have even misdiagnosed me as diabetic and did not even
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     DECLARATION OF M         R          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-21 Filed 08/17/23 Page 5 of 6




 1 bother to tell me about this diagnosis.
 2         15.    Once, when I asked my doctors to reinstate my iron, the Physician’s
 3 Assistant, PA Aasad, asked me if I was on contraceptives. I was shocked by this question
 4 because it seemed irrelevant and inappropriate. I told them I was in prison and could not
 5 have sexual intercourse with men. He seemed offended, and denied my iron pills, simply
 6 saying my iron levels were “fine.”
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     DECLARATION OF M        R          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                        INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-21 Filed 08/17/23 Page 6 of 6
